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AO 91 (Rev. 02/09) Criminal Complaint O C L

UNITED STATES DISTRICT Cours): Kem
for the L XA 8
Western District of Texas CP UF =

 

  

United States of America
Vv.

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Ernesto Pobiano

 

Defendant
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 09/10/2007 in the county of El Paso in the Western District of

Texas , the defendant violated 18 U.S.C.§ 1073
, an offense described as follows:
move and travel in interstate and foreign commerce with the intent to avoid prosecution and confinement under the
laws of the State of Texas from which he fled, for a crime which is a felony offense under the laws of the State of
Texas.

 

This criminal complaint is based on these facts:

0 Continued on the attached sheet.

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\} Complainant’ 's signature

Wesley A. Tidwell, FBI Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

Date; __ 1010412000 ALT

City and state: EI Paso, Texas Norbert J. Garney, U.S. Magistrate

Printed name and title

     

Judge's signature

 

 
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Probable Cause Statement

1. I, Wesley A. Tidwell, hereinafter referred to as Complainant, am a Special Agent
for the Federal Bureau of Investigation, and am assigned to investigate violations of
Federal Criminal Law, including Flight to Avoid Prosecution and Confinement, do
hereby state:

2. On August 7, 2009, Complainant learned that an arrest warrant was issued by the
State of Texas for Ernesto Poblano on September 10, 2007, for one count of theft over
$1,500 but under $20,000, a felony offense under the laws of the State of Texas. Poblano
was convicted of the aforementioned offense, and sentenced to three years of
imprisonment. However, Poblano was allowed to remain free on bond while he appealed
his conviction. While on bond, Poblano fled to Mexico, his country of citizenship.
Additionally, Poblano has been indicted for six additional felony theft and forgery
charges for which he has not been tried.

3. On August 7, 2009, the El Paso County District Attorney’s Office requested
federal assistance in locating and arresting Poblano as it is believed that he has fled the
state of Texas with the intent to avoid prosecution and confinement. The El Paso County
Sheriff's Office will extradite Poblano upon his arrest.

4, On September 29, 2009, the aforementioned facts were presented to Assistant
U.S. Attorney (AUSA) Margaret Leachman, Western District of Texas, El Paso, Texas.
AUSA Leachman authorized the filing of this complaint charging Poblano with violation
of Title 18, U.S.C. Section 1073, Flight to Avoid Prosecution and Confinement.

 
